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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA

WESTERN DIVISION

UNITED STATES OF AMERICA, 9:24-MJ-00074-DW

Plaintiff,

ORDER SETTING CONDITIONS OF

as RELEASE

DARRELL GOINS,

Defendant.

IT IS ORDERED that the release of the defendant is subject to the following conditions:

(1) The defendant shall not commit any offense in violation of federal, state,
local, or tribal law while on release in this case.

(2) The defendant shall immediately advise pretrial services, the U.S.
Attorney’s Office and defense counsel in writing of any change in address
or telephone number.

(3) The defendant shall maintain regular contact with his counsel and
promptly respond to any inquiries from counsel.

(4) The defendant shall appear at all proceedings as required and shall
surrender for service of any sentence imposed as directed. Your initial
appearance is currently set for May 21, 2024, at 12:30 EST before Judge
Harvey.

(5) The defendant shall not possess a firearm, destructive device, live
ammunition, or other dangerous weapon.

(6) The defendant shall not use alcohol excessively.
(7) The defendant shall not use or possess any illegal substance.

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(8) You shall not travel out of the District*of South Dakota, u less approved

by pretrial services.

(9) You shall surrender any passport(s) and not obtain a new passport.
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(10) The defendant shall not make contact, direct or indirect, with any person
who may be a witness, co-defendant, or victim in this case or in any
related case.

(11) The defendant shall report to pretrial services as directed by that office.

(12) The defendant shall report any contact with law enforcement to pretrial
services,

Advice of Penalties and Sanctions
TO THE DEFENDANT: |

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the
immediate issuance of a warrant for your arrest, a revocation of release, an order of
detention, and a prosecution for contempt of, court and could result in a term of
imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release will result in an
additional sentence of a term of imprisonment of not more than ten years, if the offense
is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and
a $250,000 fine or both to obstruct a criminal investigation. It is a crime punishable by
up to ten years of imprisonment, and a $250, 000 fine or both to tamper with a witness,
victim or informant; to retaliate or attempt to! retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant,
or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

If after release, you knowingly fail to appear as required by the conditions of
release, or to surrender for the service of sentence, you may be prosecuted for failing to
appear or surrender and additional punishment may be imposed. If you are convicted
of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a
term of fifteen years or more, you shall be fined not more than $250,000
or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment, for a term of five years or more,
but less than fifteen years, you shall be fined not more than $250,000 or
imprisoned for not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned
not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned
not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in

addition to the sentence for any other offense. In addition, a failure to appear or
surrender may result in the forfeiture of any bond posted.
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Acknowledgment of Defendant
I acknowledge that I am the defendant in this case and that I am aware of the

conditions of release. I promise to obey all conditions of release, to appear as directed,
and to surrender for service of any sentence imposed. I am aware of the penalties and

sanctions set forth above.

Signature of Defendant

Directions to United States Marshal
(X) The defendant is ORDERED released after processing.
( ) The United States marshal is ORDERED to keep the defendant in custody until
notified by the clerk or judicial officer that the defendant has posted bond and/or
complied with all other conditions for release. The defendant shall be produced

before the appropriate judicial officer at the time and place specified, if still in
custody.

DATED this 10th day of May, 2024.

BY THE COURT:

United States Magistrate Judge
